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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAI‘I


  STATE OF HAWAI‘I,

               Plaintiff,

         v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States; U.S.                Civil Action No. 1:17-cv-
  DEPARTMENT OF HOMELAND SECURITY; 00050-DKW-KJM
  JOHN F. KELLY, in his official capacity as
  Secretary of Homeland Security; U.S.
  DEPARTMENT OF STATE; REX TILLERSON,
  in his official capacity as Secretary of State; and
  the UNITED STATES OF AMERICA,

               Defendants.


              PLAINTIFF’S MOTION TO PARTIALLY LIFT STAY



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              PLAINTIFF’S MOTION TO PARTIALLY LIFT STAY

        Pursuant to Local Rule 7.6 for the United States District Court for the

  District of Hawai‘i and Rules 7 and 15(a) of the Federal Rules of Civil Procedure,

  Plaintiff State of Hawai‘i (the “State”), by and through its counsel, respectfully

  requests that the Court immediately partially lift the February 7, 2017 Order

  staying these proceedings (Dkt. No. 27) for the limited purpose of allowing the

  State to file: (1) the attached Proposed First Amended Complaint, and (2) the

  attached Declaration of Clyde J. Wadsworth Regarding Exhibit C to Declaration of

  Douglas S. Chin in Support of Plaintiff’s Motion for Temporary Restraining Order

  (“Wadsworth Declaration”).

        Specifically, the State seeks to add in its Proposed First Amended Complaint

  limited additional allegations and revised claims, as well as another Plaintiff: Mr.

  Ismail Elshikh, PhD, the Imam of the Muslim Association of Hawai‘i and the

  declarant for Exhibit H to the Declaration of Douglas S. Chin in Support of

  Plaintiff’s Motion for Temporary Restraining Order, filed publicly on February 3,

  2017 (Dkt. No. 10-8). The Wadsworth Declaration additionally provides an update

  to the Court regarding the factual circumstances presented in the Declaration of

  John Doe 3, filed as Exhibit C to the Declaration of Douglas S. Chin in Support of

  Plaintiff’s Motion for Temporary Restraining Order (“Chin Declaration”) (Dkt.

  No. 10-3). Permitting these filings will not prejudice Defendants and will allow

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  the Court to review a complete and updated set of facts, parties, and claims in this

  litigation, particularly in view of related case developments in other courts.

                FACTUAL AND PROCEDURAL BACKGROUND

        The State filed its Complaint fewer than twenty-one days ago, on February

  3, 2017. The Complaint was filed on behalf of the State of Hawai‘i and did not

  present the claims of individual, non-government plaintiffs. See Compl. (Dkt. No.

  1). On the same day, the State also filed Plaintiff’s Motion for Temporary

  Restraining Order (Dkt. No. 2) and the accompanying Chin Declaration (Dkt. No.

  10). Exhibit C to the Chin Declaration was a Declaration of John Doe 3 (Dkt. No.

  10-3). Sealed copies of the Declaration of John Doe 3 were submitted for the

  Court’s in camera review, pursuant to the State’s concurrently filed Ex Parte

  Motion for In Camera Review of Exhibits A, B, and C to Chin Declaration (Dkt.

  No. 15).

        As the Court is aware, facts pertinent to this litigation quickly are developing

  in Hawai‘i and around the country. On February 7, 2017, in response to

  Defendants’ Emergency Motion to Stay All Deadlines Pending Resolution of

  Appellate Proceedings Regarding Nationwide Injunction (Dkt. No. 23), the Court

  entered an Order staying this matter as long as the February 3, 2017 injunction

  entered in Washington v. Trump, 2:17-cv-141 (W.D. Wash.), remains in place, or

  until further order of the Court. Dkt. No. 27. Almost simultaneously with the

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  Court’s Order, however, facts relevant to the family circumstances discussed in the

  Declaration of John Doe 3 (Dkt. No. 10-3) changed. In addition, Mr. Elshikh and

  the State of Hawai‘i now wish to present their claims as co-plaintiffs; the State’s

  Proposed First Amended Complaint conforms the allegations and contours of the

  claims in the original Complaint to reflect current facts and the addition of Mr.

  Elshikh as a plaintiff.

                                      ARGUMENT

        Federal Rule of Civil Procedure 15(a) permits parties to amend their

  pleadings once as a matter of course within twenty-one days of filing, and allows

  for supplemental amendments “when justice so requires.” Fed. R. Civ. P. 15(a)(1),

  (2). Plaintiffs may add additional parties, claims, or both to an amended

  complaint. Local Rule 7.6 for the United States District Court for the District of

  Hawai‘i further requires that “[f]actual contentions made in support of or in

  opposition to any motion shall be supported by affidavits or declarations,” and that

  “[a]ny statement made upon information or belief shall specify the basis therefor.”

        Because the Court’s February 7, 2017 Order staying the proceedings remains

  in place (Dkt. No. 23), the State requests that the Court issue an additional order

  partially lifting the stay for the limited purpose of filing the attached Proposed First

  Amended Complaint and Wadsworth Declaration. The State’s ability to amend its

  complaint normally should follow as a matter of course within twenty-one days of

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  its initial filing; even if it did not, justice would require that the State be given

  leave to permit such amendment under the circumstances. Fed. R. Civ. P. 15(a).

  The State has moved efficiently to prepare the attached Proposed First Amended

  Complaint and Wadsworth Declaration with the objective of providing this Court

  with an accurate set of facts, parties, and claims presented. The Wadsworth

  Declaration, which provides the Court with updated details regarding the contents

  of the Declaration of John Doe 3 (Dkt. No. 10-3), also ensures that factual

  contentions made in support of Plaintiff’s Motion for Temporary Restraining Order

  are accurately supported, consistent with Local Rule 7.6.

         Moreover, given the fast-paced, multi-forum nature of this litigation, the

  State might seek to intervene in other proceedings occurring while the stay in this

  Court remains in place. Proceedings in other Districts, the Courts of Appeals, or

  the United States Supreme Court could impact the resolution of the State’s claims

  in this Court. As a result, it is urgent and imperative to the administration of

  justice that the State be able to assert all of its claims in this proceeding before

  intervening in others, and that Mr. Elshikh, who may be properly joined as a

  Plaintiff, have an opportunity to assert his claims. See Fed. R. Civ. P. 15(a).

                                      CONCLUSION

         For the foregoing reasons, the State respectfully asks the Court to

  immediately partially lift the stay entered on February 7, 2017, to allow the State

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  and Mr. Elshikh to file publicly the attached Proposed First Amended Complaint

  and the Wadsworth Declaration.

        DATED:      Honolulu, Hawai‘i, February 8, 2017.



                                         Respectfully submitted,

                                          /s/ Neal K. Katyal

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